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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                           Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                       Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                                 Adversary Case No. 21-01167-abl
                                                      15   INTERNATIONAL SP,
                                                                                                                      STIPULATION TO EXTEND
                                                      16                         Plaintiff,                             DEADLINE TO OPPOSE
                                                                                                                   TECUMSEH-INFINITY MEDICAL
                                                      17   v.                                                         RECEIVABLES FUND, LP’S
                                                                                                                   MOTION FOR PARTIAL SUMMARY
                                                      18   TECUMSEH–INFINITY MEDICAL                                  JUDGMENT AS TO DIRECT
                                                           RECEIVABLES FUND, LP,                                    PURCHASE RECEIVABLES [ECF
                                                      19                                                                      NO. 90]
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22                                                           Hearing Date: October 25, 2022
                                                                               Counter-Claimant,
                                                      23                                                           Hearing Time: 1:30 p.m.
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      26
                                                                                Counter-Defendant.
                                                      27

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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                          Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                  Counter-Defendant.
                                                       7

                                                       8            HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                       9   and through its undersigned counsel, and Tecumseh-Infinity Medical Receivables Fund, LP

                                                      10   (“Tecumseh”), by and through its undersigned counsel (each a “Party” and, collectively, the

                                                      11   “Parties”), hereby agree and stipulate as follows:
              1731 Village Center Circle, Suite 150




                                                      12            1.     On or about August 26, 2022, Tecumseh filed its Motion for Partial Summary
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Judgment as to Direct Purchase Receivables [ECF No. 90] (the “Motion”);
                        (702) 471-7432




                                                      14            2.     The Motion was set for hearing for October 25, 2022 at 1:30 p.m.;

                                                      15            3.     Pursuant to Local Rule 7056, unless the Court orders otherwise, HASelect is to file

                                                      16   its Opposition to the Motion within twenty-one (21) days after service of the Motion, making

                                                      17   HASelect’s Opposition to the Motion due on September 16, 2022 (the “Opposition Deadline”);

                                                      18            4.     Pursuant to Local Rule 7056, unless the Court orders otherwise, Tecumseh is to file

                                                      19   its reply to the Opposition within fourteen (14) days after service of the Opposition (the “Reply

                                                      20   Deadline”);

                                                      21            5.     Previously, the Parties agreed to extend the Opposition Deadline from September 16,

                                                      22   2022 to September 28, 2022 and extend the Reply Deadline to twenty-six (26) days after service of

                                                      23   the Opposition which the Court approved via an order entered on September 19, 2022, see [ECF No.

                                                      24   114];

                                                      25            6.     Based on the reasons set forth in the previous stipulation and the extended amount of

                                                      26   time that remains prior to the hearing of the Motion, the Parties have agreed to further extend the

                                                      27   Opposition Deadline.

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                                                       1            ACCORDINGLY, IT IS HEREBY STIPULATED that the Opposition Deadline shall be
                                                       2   extended two (2) days from September 28, 2022 to September 30, 2022.
                                                       3            IT IS FURTHER STIPULATED that the Reply Deadline will be due twenty-four (24) days
                                                       4   after service of the Opposition.
                                                       5            IT IS SO STIPULATED.
                                                       6
                                                           SHEA LARSEN                                  AKERMAN LLP
                                                       7

                                                       8   /s/ Bart K. Larsen, Esq.                     By: /s/ Michael D. Napoli, Esq.
                                                           BART K. LARSEN, ESQ.                         MICHAEL D. NAPOLI, ESQ.
                                                       9   Nevada Bar No. 8538                          Pro hac vice
                                                           KYLE M. WYANT, ESQ.                          2001 Ross Avenue, Suite 3600
                                                      10   Nevada Bar No. 14652                         Dallas, Texas 75201
                                                           1731 Village Center Circle, Suite 150        ARIEL E. STERN, ESQ.
                                                      11   Las Vegas, Nevada 89134                      Nevada Bar No. 8276
              1731 Village Center Circle, Suite 150




                                                      12                                                1635 Village Center Circle, Suite 200
                                                           Attorneys for HASelect-Medical Receivables
                   Las Vegas, Nevada 89134




                                                                                                        Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Litigation Finance Fund International SP
                        (702) 471-7432




                                                                                                        -and-
                                                      14
                                                                                                        GARMAN TURNER GORDON LLP
                                                      15                                                GERALD M. GORDON, ESQ.
                                                      16                                                WILLIAM M. NOALL, ESQ.
                                                                                                        7251 Amigo St., Suite 210
                                                      17                                                Las Vegas, Nevada 89119

                                                      18                                                Attorneys for Tecumseh–Infinity Medical
                                                                                                        Receivable Fund, LP
                                                      19

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                                                                                            CERTIFICATE OF SERVICE
                                                       1
                                                                    1.   On September 28, 2022, I served the following document(s): SECOND
                                                       2                 STIPULATION TO EXTEND DEADLINE TO OPPOSE TECUMSEH-
                                                                         INFINITY MEDICAL RECEIVABLES FUND, LP’S MOTION FOR
                                                       3                 PARTIAL SUMMARY JUDGMENT AS TO DIRECT PURCHASE
                                                                         RECEIVABLES [ECF NO. 90]
                                                       4
                                                                    2.   I served the above document(s) by the following means to the persons as listed
                                                       5                 below:
                                                       6                 ☒      a.       ECF System:
                                                       7                 CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                                         clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       8
                                                                         GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                       9                 RECEIVABLES FUND, LP
                                                                         ggordon@gtg.legal, bknotices@gtg.legal
                                                      10
                                                                         MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                      11                 RECEIVABLES FUND, LP
              1731 Village Center Circle, Suite 150




                                                                         michael.napoli@akerman.com,
                                                      12                 cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                         @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      13
                        (702) 471-7432




                                                                         ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                      14                 RECEIVABLES FUND, LP
                                                                         ariel.stern@akerman.com, akermanlas@akerman.com
                                                      15
                                                                         ☐      b.       United States mail, postage fully prepaid:
                                                      16
                                                                         ☐      c.       Personal Service:
                                                      17
                                                                         I personally delivered the document(s) to the persons at these addresses:
                                                      18
                                                                                         ☐       For a party represented by an attorney, delivery was made by
                                                      19                 handing the document(s) at the attorney’s office with a clerk or other person in
                                                                         charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      20                 in the office.
                                                      21                                 ☐       For a party, delivery was made by handling the document(s)
                                                                         to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      22                 place of abode with someone of suitable age and discretion residing there.
                                                      23                 ☐       d.      By direct email (as opposed to through the ECF System):
                                                                         Based upon the written agreement of the parties to accept service by email or a
                                                      24                 court order, I caused the document(s) to be sent to the persons at the email
                                                                         addresses listed below. I did not receive, within a reasonable time after the
                                                      25                 transmission, any electronic message or other indication that the transmission was
                                                                         unsuccessful.
                                                      26
                                                                         ☐      e.       By fax transmission:
                                                      27
                                                                         Based upon the written agreement of the parties to accept service by fax
                                                      28

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                                                                        transmission or a court order, I faxed the document(s) to the persons at the fax
                                                       1                numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                        of the record of the fax transmission is attached.
                                                       2
                                                                        ☐      f.       By messenger:
                                                       3
                                                                        I served the document(s) by placing them in an envelope or package addressed to
                                                       4                the persons at the addresses listed below and providing them to a messenger for
                                                                        service.
                                                       5
                                                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                       6
                                                                        Dated: September 28, 2022.
                                                       7
                                                                                                        By: /s/ Bart K. Larsen, Esq,
                                                       8

                                                       9

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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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